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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 ROBERT BESEDIN, SR.,

                                    Plaintiff,

                  -against-
                                                                       18 CV 0819 (NRM) (ST)
 COUNTY OF NASSAU, et al.,

                                     Defendants.
 -------------------------------------------------------------X




                  PLAINTIFF’S MEMORANDUM OF LAW IN FURTHER
                  SUPPORT OF HIS MOTION FOR ATTORNEYS’ FEES
                  AND OTHER DISCRETIONARY COSTS PURSUANT TO 42
                  U.S.C.§ 1988 AND FED. R. CIV. PROC. 54(d)

                                             Respectfully submitted,

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 Dated: December 30, 2024
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                                 PRELIMINARY STATEMENT

        Reading the defendants’ opposition papers, one would never know that Robert Besedin, Sr.

 obtained a remarkable result at trial in which the jury awarded him $760,000 in compensatory

 damages and $1,600,000 in punitive damages. One would never know that the primary reason he

 obtained that result was due to the efforts of Frederick K. Brewington, Esq., one of, if not the

 premier civil rights attorney in New York.1 And one would never know that Mr. Brewington was

 assisted by an able staff that permitted him to focus his attention on the issues that mattered most

 throughout the litigation.

        Mr. Besedin submits this memorandum of law in further support of his motion for costs and

 reasonable attorneys’ fees. He directs the Court’s attention to the Declaration of Frederick K.

 Brewington in Further Support of Plaintiff’s Motion for Attorneys’ Fees and Other Discretionary

 Costs Pursuant to 42 U.S.C.§ 1988 and Fed. R. Civ. Proc. 54(d) (“Brewington Reply Dec.”), dated

 December 30, 2024, and the Declaration of Scott A. Korenbaum in Further Support of Plaintiff’s

 Motion for Attorneys’ Fees and Other Discretionary Costs Pursuant to 42 U.S.C.§ 1988 and Fed. R.

 Civ. Proc. 54(d) (“Korenbaum Reply Dec.”), dated December 30, 2024, for a complete statement of

 facts relevant to the legal and factual arguments raised by the defendants.




 1
   Brewington’s credentials were provided in Mr. Besedin’s moving papers. The Court will recall that
 Brewington was awarded the Haywood Burns Memorial Award in 2017 by the New York State Bar
 Association.
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                                            ARGUMENT

                    THE TIME EXTENDED BY COUNSEL AND THEIR
                    REQUESTED HOURLY RATES ARE REASONABLE

        Defendants raise a host of objections to the time records maintained by Brewington.2 With

 few exceptions, the Court should reject their contentions.

 A.     With minor exceptions, defendants’ objections to Mr. Besedin’s fee application are
        without merit

        Defendants raise a host of objections to the time records submitted by Brewington in support

 of Mr. Besedin’s request for his costs and reasonable attorneys’ fees. They object that a number of

 attorneys were staffed on tasks they claim should have been performed by one attorney. They note,

 for example, that Brewington and Julissa Proano, Esq. prepared Mr. Besedin for his 50-h hearing,

 and that Messrs. Powell and Shamel attended Beckwith’s deposition that Brewington conducted.

 Defs. Memo at 7. They raise similar objections to Brewington using multiple attorneys in connection

 with the role of expert witness testimony (Defs. Memo at 6), and in responding to defendants’

 motions in limine. Defs. Memo at 7.

        Contrary to defendants’ contention, there is nothing improper about multiple attorneys

 attending a deposition or preparing a party for a hearing. See New York State Ass'n for Retarded

 Children, Inc. v. Carey, 711 F.2d 1136, 1146 (2d Cir. 1983) (“prevailing parties are not barred as

 a matter of law from receiving fees for sending a second attorney to depositions or an extra lawyer

 into court to observe and assist.”). As Magistrate Judge Shields has aptly noted, “[w]hile it is

 certainly true that a single attorney can conduct a deposition, it is neither excessive nor out of the



 2
   Again, Mr. Besedin’s references to Brewington include Frederick K. Brewington and the associates and
 staff from the Law Offices of Frederick K. Brewington who worked on this matter.

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 ordinary to have two attorneys (typically one senior and one junior) attend a deposition. It is often

 the case that the presence of a second attorney facilitates the swift flow of a deposition by helping

 to prepare and provide exhibits.” Centro De La Comunidad Hispana De Locust Valley v. Town of

 Oyster Bay, CV 10-2262, 2019 U.S. Dist. LEXIS 102840, *37-38 (E.D.N.Y. Jun. 18, 2019), report

 and recommendation adopted, 2019 U.S. Dist. LEXIS 111538 (E.D.N.Y. Jul. 3, 2019). See Norman

 v. Housing Auth., 836 F.2d 1292, 1302 (11th Cir. 1988) (“[t]here is nothing inherently unreasonable

 about a client having multiple attorneys.”).

        Ms. Proano’s presence was of great assistance to Brewington and Mr. Besedin as she

 examined Mr. Besedin as if she were counsel for the County. This allowed Brewington to assess the

 strengths and weaknesses of Mr. Besedin’s presentation, which was of great concern to Plaintiff’s

 counsel given his mental limitations. Brewington Reply Dec. at ¶¶ 2-3.

        Regarding Messrs. Powell’s and Manuel’s attendance at Beckwith’s deposition, their

 presence assisted Brewington in evaluating this witness’ potential presentation for trial. They also

 assisted Mr. Brewington in proposing additional questions at the deposition, and in evaluating

 potential false or conflicting testimony as it was occurring. Their input served Brewington well (and

 thus Mr. Besedin) in shaping the examination of him at trial, and in the denial in large measure of

 defendants’ motion for summary judgment. Both attorneys’ presence was also required as Mr.

 Powell was not available to attend the entire deposition due to other commitments, which is reflected

 in their respective time entries for the event. Brewington Reply Dec. at ¶ 4.

        Defendants also object that the Law Offices seeks to recover time relating to work allegedly

 performed on motions in limine filed by Mr. Besedin. Defs. Memo at 7. Mr. Besedin does not. As

 Brewington explains, these entries were the result of work done in opposing defendants’ motions.


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 They mistakenly got labeled based on the entry of a code in the firm’s billing system that was entered

 for work on an affirmative in limine motion and a response to an in limine motion under the same

 numerical code. Brewington Reply Dec. at ¶ 11.

         Defendants also object to a number of time entries on the ground they consist of block

 billing. Defs. Memo at 8-9. They offer two examples. One is Ms. Sconiers “bill[ing] for ‘trial

 preparation/reviewing exhibits/trial binders’ six times for a total of 33 hours between October 3,

 2024, and October 16, 2024[;]” the other is Mr. Powell’s entries for “trial prep.” Defs. Memo at 8-9.

 There is nothing inherently wrong with block billing. What matters is the district court’s ability to

 assess whether the work performed was reasonable under the circumstances. Adorno v. Port Auth.,

 685 F. Supp. 2d 507, 515 (S.D.N.Y. 2010) (“While block-billing is disfavored and may lack the

 specificity for an award of attorneys' fees, it is not prohibited as long as the court can determine the

 reasonableness of the work performed.”) (quotations omitted).

         Here, the Court can readily discern the work Ms. Sconiers and Mr. Powell performed. Ms.

 Sconiers’ entries related to, among other things, the preparation of six trial books required by the

 Court. Mr. Powell, as the Court will recall, was Brewington’s co-counsel at trial. Brewington Reply

 Dec. at ¶¶ 13-14. There is nothing improper about spending 28 hours on trial preparation two weeks

 before the start of trial.

         Defendants also complain about an allegedly “high number of hours billed for inter-office

 communications.” Defs. Memo at 9-10. While courts recognize that billings for “internal

 communications” may pose a problem, defendants provide no examples of the same. And a review

 of the time sheets reflect no charges for “inter-office communications.” Brewington Reply Dec. at

 ¶ 16.


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           Defendants contend that a number of categories of work performed on Mr. Besedin’s behalf

 represent non-recoverable work. For example, they contend that Mr. Besedin cannot recover work

 relating to media relations is not recoverable. Defs. Memo at 11. They are incorrect. See, e.g.,

 Rodriguez ex rel. Kelly v. McLoughlin, 84 F. Supp. 2d 417, 425 n.7 (S.D.N.Y. 1999) (“informing

 the public about court proceedings is often necessary to fully vindicate the public interest implicated

 by the case”) (citing United States Football League v. National Football League, 704 F. Supp. 474,

 482 (S.D.N.Y.), aff’d, 887 F.2d 408 (2d Cir. 1989)). As the United States Football League Court

 noted, “The substantial public interest in this case required counsel to deal extensively with the

 media. The nature of the lawsuit necessitated this activity; the comparatively few hours spent on

 required media relations are fully compensable.” 704 F. Supp. at 482.

           If substantial public interest in a matter involving antitrust claims permits recovery for fees

 relating to dealings with the media, it follows they are recoverable here. One of the key roles of a

 civil rights attorney in a case such as this was best articulated by Charles Hamilton Houston,3 who

 famously said that “a lawyer is either a social engineer or he's a parasite on society.” The use of the

 media to educate the community about what happened to Mr. Besedin is an important tool used to

 actively create positive social change and bring about accountability.

           Defendants also contend that work associated with Mr. Besedin’s criminal defense is not

 recoverable. Defs. Memo at 11-12. Brewington does not seek compensation for the time he spent

 defending Mr. Besedin in criminal court. As the Court knows, Lloyd Nadel, Esq. represented Mr.

 Besedin. Rather, he seeks to recover for the time spent meeting with the District Attorney’s Office



 3
     https://naacp.org/find-resources/history-explained/civil-rights-leaders/charles-hamilton-houston;
     https://legacyofslavery.harvard.edu/alumni/charles-hamilton-houston

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  in an attempt to persuade him to dismiss the criminal charges. This work was necessary because a

  successful dismissal of the charges was an important step for initiating this action with respect to all

  of Mr. Besedin’s claims except for those sounding in excessive force. See Heck v. Humphrey, 512

  U.S. 477 (1994). For these reasons, the cases defendants cite (Defs. Memo at 11-12) are inapposite

  because they involve the plaintiffs’ attempts to recover for the work performed by their criminal

  defense attorneys – Lenihan v. City of New York, 640 F. Supp. 822 (S.D.N.Y. 1986), did not involve

  an action brought pursuant to Section 1983. Even if the Court disagrees, Brewington can still

  recover for the legal research on criminal issues as that work was necessarily intertwined with the

  issues relating to probable cause.

          Defendants contend that Mr. Besedin’s fee request should be reduced because he did not

  prevail on a number of claims. Defs. Memo at 12-13. Defendants are completely wet when they

  contend that the fee application should be reduced because “the jury returned a defense verdict on

  the claims of false arrest and assault.” Defs. Memo at 13. They ignore that where, as was the case

  here, “a plaintiff has obtained excellent results, his attorney should recover a fully compensatory fee.

  Normally this will encompass all hours reasonably expended on the litigation, and indeed in some

  cases of exceptional success an enhanced award may be justified. In these circumstances the fee

  award should not be reduced simply because the plaintiff failed to prevail on every contention raised

  in the lawsuit. . . . Litigants in good faith may raise alternative legal grounds for a desired outcome,

  and the court's rejection of or failure to reach certain grounds is not a sufficient reason for reducing

  a fee. The result is what matters.” Hensley v. Eckerhart, 461 U.S. 424, 435 (1983).

          The Second Circuit has made clear that where “successful and unsuccessful claims are

  ‘inextricably intertwined’ and ‘involve a common core of facts or [are] based on related legal


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  theories,’” the district court may award the entire fee. Reed v. A.W. Lawrence & Co., 95 F.3d 1170,

  1183 (2d Cir. 1996) (citations omitted). “[C]laims can be intertwined based on common facts as well

  as common legal theories.” Green v. Torres, 361 F.3d 96, 98 n.2 (2d Cir. 2004). As a general

  matter, “such unrelated claims are unlikely to arise with great frequency.” Chen v. County of Suffolk,

  927 F. Supp. 2d 58, 74 (E.D.N.Y. 2013) (quoting Hensley, 461 U.S. at 435).

          The Court knows that Mr. Besedin’s claims sounding in false arrest, assault, battery,

  excessive force, malicious prosecution and malicious abuse of process all arose out of the interaction

  between Mr. Besedin, Beckwith and Mantovani on February 7, 2017. While it is correct that a

  number of claims were dismissed voluntarily, these claims did not lead to any additional work. The

  same holds true for the due process and negligence claims that were dismissed on summary

  judgment. Brewington Reply Dec. at ¶ 18. Regarding Monell, the Complaint alleged the County

  engaged in a practice of not asking, investigating and disciplining its officers. This theory, and the

  facts underlying it, were relevant to Mr. Besedin’s malicious prosecution claim; and Beckwith’s and

  Mantovani’s deliberately indifferent attitude about their actions supported punitive damages. See

  Brewington Declaration ¶¶ 18-19. Simply put, there is no reason to reduce Mr. Besedin’s fees for

  lack of degree of success.

          Defendants also seek to reduce the fee award because of work performed by “both support

  staff and attorneys for clerical task such as mailing, collating, and bates-stamping documents, leaving

  voicemail messages, and electronically filing documents.” Defs. Memo at 14. Neither Greenburger

  v. Roundtree, 17-cv-03295, 2020 U.S. Dist. LEXIS 8658 (S.D.N.Y. Jan. 16, 2020), nor Lilly v. City

  of New York, 934 F.3d 222 (2d Cir. 2019), stand for the cited proposition. Rather, these cases stand

  for the non-controversial proposition that attorneys should not be able to bill at full hourly rates for


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  work that could otherwise be billed by paralegals or clerical staff. A review of the challenged time

  reflects work performed primarily by paralegals or clerical staff. Declaration of Kiera J. Meehan,

  dated December 2, 2024, at Exh. A, pp. 3-4, 7-8, 11-12, 32-33.

  B. Fees on fees.

          Defendants contend that the amount of fees sought in connection with this fee application

  (fees on fees) are excessive. Mr. Besedin demonstrated in his moving papers that the 33 hours his

  attorneys spent on the fee application were not excessive. Plaintiff’s Opening Memo at 18-19. Even

  after including the additional 14.9 hours incurred by Korenbaum and the additional 8.6 hours

  incurred by Brewington in connection with these reply papers, the hours incurred by Mr. Besedin’s

  counsel are still reasonable. In Natural Resources Defense Council, Inc. v. Fox, 129 F. Supp. 2d

  666, 675 (S.D.N.Y. 2001), the district court compensated plaintiff’s counsel for 124.65 hours they

  spent on their fee application. In Montanez v. City of Syracuse, 2020 U.S. Dist. LEXIS 157224, *31-

  32 (N.D.N.Y. Aug. 31, 2020), the district court approved “66.8 attorney hours and 44.7 paralegal

  hours” for work performed on the fee application.4

  C. Instances of legitimate objections lodged by the defendants.

          Defendants lodge three legitimate objections. First, they correctly note that travel time is

  only compensable at 50% of an attorneys’ hourly rate. Defs. Memo at 10. Brewington’s travel time

  totals 42.3 hours. At $600/hr., this totals $25,380. Fifty per cent is $12,690, which Brewington will



  4
    For these reasons, defendants’ reliance upon Luessenhop v. Clinton Cnty., 558 F. Supp.2d 247 (N.D.N.Y.
  2008), aff’d, 324 F. App’x 125 (2d Cir. 2009), is misplaced. In Luessenhop, the district court reduced
  plaintiff’s hours for work performed on the fee application from 62, which included 52 hours for the initial
  application, to 30. In doing so, the district court expressed its dismay over the fact that the same attorney
  had submitted a recent fee application in which he claimed 15 hours for legal research and drafting the initial
  fee application. Id. at 270-71. Here, no such concerns exist.

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  deduct from Mr. Besedin’s application. Brewington Reply Dec. at ¶ 21.

           Next, they are correct that Leah Jackson, Esq., and not Mr. Manuel, defended the deposition

  of Ms. Judith Besedin. Defs. Memo at 10. The mistake was a keystroke entry error made by our

  billing staff making the entry. The data entry dropbox, which is sensitive to first letters typed got

  an “M” typed in instead of a “J” and went to Mr. Manuel profile instead of Ms. Jackson. As Ms.

  Jackson’s hourly rate was $50 less than Mr. Manuel’s, and as defendants do not question the amount

  of time spent defending the deposition (6.5 hrs.), this requires an additional deduction of $325.

  Brewington Reply Dec. at ¶ 22.

           Finally, defendants correctly note that Mr. Besedin is not entitled to recover the costs relating

  to Dr. Berrill. Defs. Memo at 13-14. The Firm will deduct $9,000 from the amount of costs sought

  by Mr. Besedin. Brewington Reply Dec. at ¶ 23.

  D.       Defendants offer no legitimate reason why the Court should not award Brewington and
           Korenbaum their requested hourly rates of $600 and $550, respectively, for the work
           they performed on Mr. Besedin’s behalf.

           Mr. Besedin demonstrated in his moving papers that the Court should award him fees for the

  work Brewington performed on his behalf at the hourly rate of $600. Opening Memo at 6-11.

  Defendants counter that an hourly rate of $450 is appropriate. None of their justifications have

  merit.

           Defendants contend that “the verdict rendered by the jury . . . was not a complete victory for

  Plaintiff, as the jury rejected the claims of false arrest, assault, and further found Defendant Beckwith

  did not employ excessive force.” Relatedly, they argue “while this case surely required hours of

  work, it cannot be identified as uniquely complex or difficult, a fact bolstered by the relatively short

  duration of trial.” Defs. Memo at 15 (citation omitted). Defendants ignore that Mr. Besedin


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  prevailed on his primary claims of excessive force, malicious prosecution and malicious abuse of

  process; and they do not and cannot challenge that the jury’s verdict represented outstanding success.

         Defendants contention that this was not a complex case is, to put it mildly, hypocritical.

  Defendants fought this case tooth and nail. Their argument also ignores the challenges posed by Mr.

  Besedin’s pre-existing injuries.     Brewington successfully fended off a Daubert challenge.

  Brewington’s talents were on full display in convincing the jury to award $760,000 in compensatory

  damages given the defendants’ expert testimony, which if the jury credited would have substantially

  reduced the value of Mr. Besedin’s damages. The Court knows well the effectiveness of

  Brewington’s cross-examination of Dr. Myers, the defendants’ expert witness.

         Defendants also contend that “smaller civil rights firms are not ‘comparable to large

  Manhattan firms employing hundreds of lawyers.’” Defs. Memo at 15 (citations omitted). Mr.

  Besedin demonstrated in his opening papers that such an argument flies in the face of Congress’

  intent in passing Section 1988. Opening Memo at 5-6 (quoting County of Riverside v. Rivera, 477

  U.S. 561, 575 (1986)). Relying on its own knowledge of market rates, Townsend v. Benjamin

  Enters., Inc., 679 F.3d 41, 59 (2d Cir. 2012), the Court knows that $600/hr. is well-below the hourly

  rate of mid-level associates at large law firms. And if this case were brought in the Southern District

  of New York, Mr. Brewington could command an hourly rate of upwards of $900. See Rosario v.

  City of New York, 18 Civ. 4023, 2023 U.S. Dist. LEXIS 43952 (S.D.N.Y. Mar. 15, 2023) (awarding

  Nick Brustin, Esq., a fabulous attorney with substantially less experience than Brewington, an hourly

  rate of $900). Moore Dec. at ¶¶ 8, 15, 25.

         In Claud v. Brown Harris Stevens of The Hamptons, LLC, 18-cv-01390, 2024 U.S. Dist.

  LEXIS 12007 (E.D.N.Y. Jan. 23, 2024), this Court awarded Oliver Koppell, Esq. an hourly rate of


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  $550 for the work he performed on his client’s behalf. In awarding Koppell this rate, the Court noted

  the trend in this district to compensate justly experienced civil rights attorneys. Defendants have no

  answer to Claud. If Mr. Koppell warranted an hourly rate of $550, Brewington warrants an hourly

  rate of $600.

          Mr. Besedin also demonstrated in his moving papers that the Court should award him fees

  for the work Korenbaum performed on his behalf at the hourly rate of $550. Opening Memo at 12.

  Defendants do not challenge Korenbaum’s credentials. They claim that “Korenbaum’s billing

  records suggest he was not retained to meaningfully prosecute Plaintiff’s action, but to assist Mr.

  Bewington with” the fee application. Defs. Memo at 14. While acknowledging Korenbaum is a

  seasoned attorney who undoubtedly brings value to the action, they claim “his role in this case was

  similar to that of a senior associate or trial consultant, not a partner or the principal of his own firm.”

  Defs. Memo at 14-15 (citing Claud, 2024 U.S. Dist. LEXIS 12007, *13).

          Defendants’ justification for reducing Korenbaum’s hourly rate does not hold water.

  Contrary to their view, Brewington, as he had done myriad times in the past, requested that

  Korenbaum assist him with the legal issues that arose during the trial, and handle all matters relating

  to post-trial motion practice. This included handling this fee application and drafting Mr. Besedin’s

  papers filed in opposition to the defendants’ post-trial motions. Korenbaum Reply Dec. at ¶¶ 5-7.

  Here, as in Luca v. County of Nassau, 698 F. Supp.2d 296 (E.D.N.Y. 2010), he “functioned as a

  partner, not a senior associate.” Id. at 305 (emphasis added).

          Finally, defendants raise no challenges to the requested hourly rates of Brewington’s

  associates and staff. The Court should approve them for the reasons articulated in Mr. Besedin’s

  opening motion papers.


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                                           CONCLUSION

         The most significant factor in determining reasonable attorneys’ fees is the plaintiff’s degree

  of success. Hensley, 461 U.S. at 435; Fisher v. SD Prot. Inc., 948 F.3d 593, 606-07 (2d Cir. 2020).

  Here, Brewington achieved an extraordinary result on behalf of Mr. Besedin with the jury awarding

  $2,360,000 in compensatory and punitive damages. Mr. Besedin’s attorneys should be justly

  compensated in the total amount of $434,657.52, broken down as follows:

         a. Attorneys’ fees of the Law Offices of Frederick K. Brewington in the amount of

  $365,445.50 for the work performed through the initial fee application;

         b. an additional $9,355.00 for the work performed by the Law Offices of Frederick K.

  Brewington through these reply papers;

         c. Attorney’s fees of Scott A. Korenbaum, Esq. in the amount of $50,875, representing

  $12,650 for the work performed through the initial fee application, $30,030 for the work performed

  opposing defendants’ post-trial motions, plus an additional $8,195 for the work performed through

  these reply papers;

         d. Expenses in the amount of $8,982.02 ($17,960.52 - $9,000 + $21.50); and




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         e. such other and further relief as is just and proper, including a hearing to address the

  reasonableness of the requests for costs and fees.

  Dated: New York, New York
         December 30, 2024

                                        Respectfully submitted,



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